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        Exhibit A
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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NEW YORK

CHRISTOPHER GODSON,                                   )
on behalf of himself                                  )
and all others similarly situated,                    ) No. 1:11-cv-0764-EAW-HKS
                                                      )
                        Plaintiff,                    )      CLASS ACTION
                                                      )
                        v.                            )
                                                      )
ELTMAN, ELTMAN & COOPER, P.C.,                        )
and LVNV FUNDING, LLC,                                )
                                                      )
                Defendants.                           )

                              ATTORNEY TIME RECORDS
                              KENNETH R. HILLER, ESQ.



DATE            ACTIVITY                                                            TIME

4/5/2011        Telephone conference with client; discuss facts of his case;
                Request that he provide all documents                               0.5 hrs.

4/27/2011       Review entire file, including all documents provided by client;
                conduct legal research to determine viability of case               3.0”

6/1/2011        Telephone conference with client; advise him additional
                documents needed; discuss case in general                           0.4”

6/7/2011        Review additional documents provided by client                      0.5”

7/7//2011       Meet with Seth Andrews to review and discuss case, and the
                possibility of a potential class action                             1.0”

8/2//2011       Legal research on viability of class action in this case; discuss
                with Seth Andrews; Seth will contact potential class co-counsel     4.0”

9/8/2011        Telephone conference with Brian Bromberg to discuss proposed
                class action                                                        1.0”

9/8/2018        Prepare class action complaint                                      3.0”

9/9/2011        Meeting with plaintiff (in person) and with Brian Bromberg, Esq.
                by telephone; confirm factual allegations of case, accuracy of
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             complaint. Inform plaintiff of his duties as a class representative
             and goals of case.                                                    2.0”

9/21/2011    Meeting with client to discuss the status of case, to review each
             and every allegation in the complaint, and what to expect in case     2.0”

12/12/2011   Review answer; email exchange with co-counsel regarding
             merits of moving to strike frivolous affirmative                      0.5”

12/12/2011   Review answers interposed by Defendant in other cases for
             use in Motion to Strike Affirmative Defenses                          0.5”

12/12/2011   Review another answer interposed by Defendant another cases for
             use in Motion to Strike Affirmative Defenses                    0.2”

1/2/2012     Prepare draft of motion to strike affirmative defenses, including
             affirmation of counsel, and 14 page memorandum of law                 9.0”

1/3/2012     Review revised (by co-counsel) Motion to Strike                       1.5”

1/4/2012     Telephone call with Brian Bromberg re: Rule 16 and Rule 26
             conferences, and ADR procedures                                       0.2”

1/4/2012     Review scheduling order on Motion to Strike; diary deadlines          0.1”

1/6/2012     Prepare proposed case management order                                0.3”

1/2/2012     Telephone client re: status update                                    0.3

2/1/2012     Receive and review scheduling order; diary deadlines                  0.2”

2/16/2012    Telephone call with Brian Bromberg re: next steps in case             0.2”

2/17/2012    Review Reply brief re: Motion to Strike prepared by
             Co-counsel                                                            0.6”

2/17/2012    Review flurry of emails attempting to schedule mediation              0.2”

2/17/2012    Prepare Rule 26(a)(1) disclosures; email to co-counsel                1.0”

3/26/2012    Review Motion to Certify Class; prepare affidavit in support
             of Motion; email to co-counsel                                        2.0”

3/27/2012-
3/28/2012    Review default judgment taken against plaintiff in Florida; email
             exchange with co-counsel discussing the ramifications                 0.4”
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3/28/3012    Review entire file to prepare for mediation; meet with Seth
             Andrews and client to discuss mediation strategy                  1.5”

3/30/2012    Meet with client before mediation; attend mediation; confer
             with client and co-counsel after mediation                        3.0”

4/6/2012     Review draft letter to Judge prepared by co-counsel               0.1”

5/18/2012    Meet with client before second mediation; attend mediation; confer
             with client and co-counsel after mediation                         3.0”

5/21/2012-
5/23/2012    Review settlement offer from opposing counsel; email exchange
             among co-counsel in which we ultimately decide to reject offer;
             email to mediator rejecting offer                                 0.5”

6/8/2012     Receive scheduling order re Mtn to Certify Class                  0.1”

7/3/2012     Receive email from opposing counsel re: discovery; email
             exchange with co-counsel to discuss how to respond                0.3”

8/13/2012    Review of opposition to Motion to Certify Class; research
             cited therein; make notes of possible responses to their
             arguments                                                         3.0”

8/13/2012    Telephone conference with co-counsel to discuss Defendant’s
             Opposition to Motion                                              0.2”

8/19/2012    Review Defendant’s discovery responses                            1.0”

8/29/2012    Telephone call with co-counsel and opposing counsel re:
             Defendant’s discovery responses                                   0.7”

8/29/2012    Review Reply to Response to Motion to Certify Class               1.0”

9/11/2012    Review decision granting Motion to Strike                         0.2”

9/11/2012    Review text order of Court                                        0.1”

9/25/2012    Review Amended Answer                                             0.2”

9/25/2012    Telephone call to client to discuss status of case                0.4

10/1/2012    Prepare Motion to Compel and accompanying papers; file same       2.5”
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10/9/2012,
10/29/2012   Review orders scheduling Motion to Compel                      0.1”

11/2/2012    Review Defendant’s Opposition to Motion to Compel              1.0”

11/23/2012   Review Plaintiff’s Reply to Response to Motion to Compel;
             File same                                                      0.5”

1/9/2013     Telephone call to client to discuss status of case             0.3”

9/11/2013    Review order granting in part and denying in part Motion to
             Compel; review file to determine next steps to take            1.0”

10/8/2013    Review Plaintiff’s Motion for Sanctions                        1.0”

10/9/2013    Telephone call to client to discuss status of case             0.4

10/9/2013    Receive scheduling order; input deadlines in calendar          0.1”

10/18/2013   Review Defendant’s Response to Motion for Sanctions            0.5”

10/18/2018   Review Defendant’s Motion for Summary Judgment                 2.0”

10/21/2013   Receive scheduling order; input deadlines in calendar          0.1”

10/25/2013   Review Plaintiff’s Motion to Stay                              0.5”

11/4/2013    Review Declaration of Concepcion Montoya in response to
             Motion to Stay                                                 0.2”

11/5/2013    Review Reply to Response to Motion to Stay                     0.2”

12/3/2013    Review order staying briefing of summary judgment motion       0.1”

12/6/2013    Review protective order                                        0.2”

12/9/2013    Review Plaintiff’s Motion to Extend Discovery                  0.1”

12/23/2013   Review Defendant’s Response to Motion to Extend Discovery      0.1”

1/10/2014    Review Second Motion to Compel and Motions to Seal             1.0”

1/16/2014    Receive scheduling order; input deadlines in calendar          0.1”

1/30/2014    Review Defendant’s Motion for Extension of Time to
             Response to Second Motion to Compel and Plaintiff’s opposition 0.3”
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1/31/2014    Receive scheduling order; input deadlines in calendar           0.1”

2/7/2014     Review Defendant’s Memorandum of Law in Opposition to
             Second Motion to Compel                                         1.0”

2/7/2014     Review Defendant’s Motion to Bifurcate and/or Stay              0.4”

2/14/2014    Review Memorandum in Opposition to Second Motion to Compel 0.5”

2/14/2014    Review Memorandum in Support of Motion to Bifurcate             0.3”

2/21/2014    Telephone call to client to discuss status of case              0.4

2/21/2014    Review Plaintiff’s Motion for Extension of Time                 0.1”

2/24/2014    Receive scheduling order; input deadlines in calendar           0.1”

2/26/2014    Review Plaintiff’s Memorandum of Law in Opposition to Motion
             To Bifurcate                                                 0.3”

3/4/3014     Review Defendant’s Response, re :Mtn to Bifurcate               0.2”

9/15/2014    Review order disposing of motions for sanctions, motion for
             protective order, motion for extension of discovery deadline,
             motion to compel                                                0.5”

9/25/2014    Review Affidavit of opposing counsel alleging compliance
             with orders of the Court                                        0.4”

9/29/2014    Review Plaintiff’s Fourth Motion to Seal                        0.2”

9/29/2014    Review Plaintiff’s Objections to Magistrate Judge’s Order       0.5”

10/6/2014    Receive scheduling order; input deadlines in calendar           0.1”

10/14/2014   Review Motion for Reconsideration of Magistrate Judge’s Order   0.5”

10/21/2014   Review Defendant’s Motion to Stay                               0.3”

10/24/2014   Review order of Judge Skretny re Motion to Reconsider and
             Objections                                                      0.1”

10/24/2014   Review Plaintiff’s Third Motion of Sanctions; Sixth Motion to
             Seal                                                            1.0”
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10/28/2014   Receive scheduling order; input deadlines in calendar           0.1”

11/25/2014   Telephone call to client to discuss status of case              0.4

11/21/2014   Review Declaration of Brian Bromberg regarding various
             pending motions                                                 0.3”

11/21/2014   Review Defendant’s Memorandum in Opposition to Plaintiff’s
             Third Motion for Sanctions and Declaration of counsel           1.0”

11/21/2014   Review Defendant’s Memoranda opposition to Motion for
             Reconsideration and other motion of Plaintiff                   1.0”

12/12/2014   Review Plaintiff’s Reply brief re: various motions; review
             Declaration of Jonathan Miller and exhibits                     3.0”

9/30/2015    Review order granting in part and denying in part motions for
             Reconsideration and for sanctions                               0.6”

5/14/2015    Telephone call to client to discuss status of case              0.4

10/14/2015   Review Memorandum of Law filed by Plaintiff re” 9/30/15 order 1.0”

10/19/2015   Receive scheduling order; input deadlines in calendar           0.1”

10/29/2015   Review Defendant’s Letter Motion to Extend Time to Complete
             Discovery                                                       0.1”

11/2/2015    Review orders extending discovery deadlines                     0.1”

11/9/2015    Review Plaintiff’s Reply Memorandum of Law                      2.5”

12/22/2015   Review order of Court affirming Magistrate Judge’s rulings      0.5”

1/15/2016    Review Defendant’s status report letter                         0.1”

1/22/2016    Telephone call to client to discuss status of case              0.4

2/2/2016     Review Plaintiff’s Fourth Motion for Sanctions and all
             accompanying papers                                             2.7”

2/5/2016     Review Plaintiff’s motions to seal and to extend discovery      0.4”

2/8/2016     Receive scheduling order; input deadlines in calendar           0.1”

2/22/2016    Review opposition to Fourth Motion for Sanctions                1.5”
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3/7/2016     Review Reply Brief, re: Fourth Motion for Sanctions              1.5”

3/23/2016    Review Defendant’s Sur-reply                                     0.2”

4/15/2016    Order granting in part and denying in part Motion for
             Sanctions                                                        0.4”

4/22/2016    Telephone call to client to discuss status of case               0.3

5/9/2016     Review Defendant’s Motion for Protective Order                   0.3”

5/13/2016    Review Declaration of Meghan Emmerich                            0.3”

5/26/2016    Review Fifth Motion for Sanctions                                3.0”

5/27/2016    Review declaration and memorandum of law in opposition to
             Motion for protective order                                      1.0”

6/2/2016     Receive scheduling order; input deadlines in calendar            0.1”

6/24/2016    Review Defendant’s opposition to Fifth Motion for Sanctions      2.0”

6/24/2016    Review Defendant’s Reply brief re: motion for protective order   1.0”

7/15/2016    Review Reply brief re: 5th Motion for Sanctions and Declaration 1.0”

9/26/2016    Telephone call to client to discuss status of case               0.4

1/9/2017     Review order granting motion for protective order; denying
             Motion for sanctions                                             0.4”

1/9/2017     Receive scheduling order; input deadlines in calendar            0.1”

3/17/2017    Receive scheduling order; input deadlines in calendar            0.1”

5/26/2017,
6/28/2017    Review motions to extend discovery deadlines                     0.3”

6/29/2017    Review order granting extension                                  0.1”

6/29/2017    Telephone call to client to discuss status of case               0.3”

7/31/2017    Review Motion to Extend Discovery Deadline                       0.2”

8/1/2017     Receive scheduling order; input deadlines in calendar            0.1”
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9/29/2017     Review Motion to Extend Discovery Deadline                         0.2”

10/2/2017     Receive scheduling order; input deadlines in calendar              0.1”

2/6/2018      Receive scheduling order; input deadlines in calendar              0.1”

4/1/2018      Prepare declaration for upcoming Motion to Certify Class           1.0”

4/2/2018      Review Motion to Certify Class                                     0.5”

4/4/2018      Receive scheduling order; input deadlines in calendar              0.1”

4/11/2018     Telephone call to client to discuss status of case                 0.4

4/23/2018     Review Memorandum in Support of Class Certification                0.3”

5/21/2018     Review Order of Preliminary Approval of Class Action
              Settlement                                                         0.3”

7/30/2018     Review text order                                                  0.1”

9/20/2018     Prepare declaration in support of fee application                  2.0”

Total:                                                                           108.4

$450.00 per hour x 108.4 = $48,780.00



Out-of-Pocket Expenses

9/9/11        Federal court filing fee                                           $350

10/25/11      Servico, Inc. - service of Complaint via Sec. State, both defendants 120

Total:                                                                           $470
